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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :
                                              :      No. 17-10941-SR
SHARMIL MCKEE,                                :
                                              :      Chapter 7
                       Debtor                 :


  NOTICE OF SETTLEMENT BETWEEN PHILADELPHIA FAMILY COURT AND
                    DEBTOR SHARMIL MCKEE


         The Philadelphia Family Court and Debtor Sharmil McKee, through undersigned

counsel, have reached a settlement regarding Debtor’s Motion for Sanctions. A proposed order

of dismissal as to Philadelphia Family Court is enclosed below.


                                              Respectfully submitted,



         /s/ Andrew J. Coval                                 /s/ Glenn A. Brown
         Andrew J. Coval, Esquire                           Glenn A. Brown, DMD, Esquire
         Attorney I.D. No. PA 321487                        Real World Law, P.C.
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         (215) 560-6300                                     Attorney for Debtor
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         Attorney for Philadelphia Family Court
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                  IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                       :
                                             :     No. 17-10941-SR
SHARMIL MCKEE,                               :
                                             :     Chapter 7
                     Debtor                  :



                                         ORDER

         AND NOW this               day of                      2017, in consideration of the

Settlement between Philadelphia Family Court and Debtor Sharmil McKee, it is ORDERED

that Debtor’s Motion for Sanctions is DISMISSED with respect to Philadelphia Family Court

only.




                                             BY THE COURT:



                                             _____________________________
                                                                     J.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
                                             :       No. 17-10941-SR
SHARMIL MCKEE,                               :
                                             :       Chapter 7
                       Debtor                :


                                 CERTIFICATE OF SERVICE


         The undersigned counsel hereby certifies that on October 17, 2017, he caused to be

served a true and correct copy of the foregoing Response in Opposition to the Motion for

Sanctions via CM/ECF and via first class, postage pre-paid, U.S. mail to the following:



                       Michael Pearson
                       500 Admirals Way #101
                       Philadelphia, PA 19146




                                                     /s/ Andrew Coval
                                                     ANDREW COVAL, ESQUIRE
                                                     Attorney I.D. No. PA 321487
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                                                     Attorney for Philadelphia Family Court
